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IN THE UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

                                                            Civil Action No.: 1 :16-cv-6540-AJP

LATANGA CROKER,

                     Plaintiff,
                                                      ,+mE:;i'J D e-D
       V.                                            ORDER

ANDREW SAUL,
COMMISSIONER OF
SOCIAL SECURITY,

                     Defendant.



       NOW this    �ay of         i\J (lJl'{JrVJ l:w\..   , 20,;;io , it is hereby ORDERED that

plaintiffs Petition for and Award of Attorney Fees pursuant to 206 (b)(l) is GRANTED.

       1)     The Court authorizes a payment to Karl E. Osterhout, Esquire, in the amount of
Twenty Eight Thonsand Twenty Seven dollars and 38/100 ($28,027.38) in attorney's fees
being withheld from Plaintiffs past-due benefits for court related services; and
       2)      Upon receipt of this sum, counsel for Plaintiff shall remit Nine Thonsand Six
Hundred Fifty dollars and 00/100 ($9,650.00) directly to Plaintiff, representing the sum
already paid to counsel on Plaintiffs behalf pursuant to the Equal Access to Justice Act, 28
U.S.C. §2412.




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